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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                v.

    PAUL J. MANAFORT, Jr.                       Crim. No. 17-201-1 (ABJ)


                Defendant.



     MOTION TO SET SCHEDULE FOR THE UNITED STATES’ RESPONSE TO THE
                COURT’S NOVEMBER 30, 2017 MINUTE ORDER

        The United States of America, by and through Special Counsel Robert S. Mueller III,

moves the Court for leave to file its response to the Court’s Minute Order, dated November 30,

2017, by Monday, December 4, 2017. In the Court’s Minute Order, the Court directed the

government to state in writing its position on defendant Manafort’s recently-submitted Motion to

Modify Conditions of Release (“Motion”) [ECF No. 66]. The Minute Order did not specify a

deadline for the government’s submission, but the government understands that the Court would

expect a prompt response. The government seeks the Court’s leave to have until Monday,

December 4, 2017, to file its submission, in light of information that has come to the government’s

attention only after defendant’s Motion was filed, which the government is still examining.

Undersigned counsel has been unable to obtain defendant Manafort’s position on this motion by

the time of this filing, despite efforts to do so. 1




1
 Counsel for the government has been in contact with counsel for defendant Manafort about the
newly-acquired information described above.
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       WHEREFORE the United States requests that the Court permit the government to state its

position on defendant Manafort’s Motion to Modify Conditions of Release by December 4, 2017.

A proposed order is attached herewith.

                                                 Respectfully submitted,

                                                 ROBERT S. MUELLER III
                                                 Special Counsel

Dated: December 1, 2017                   By:    __/s/_Kyle R. Freeny_____________
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                                                 Greg D. Andres (D.D.C. Bar No. 459221)
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